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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                               :
MICHELLE TENZER-FUCHS,                                         :   2:22-cv-02676
                                                               :
                                              Plaintiff,       :
                                                               :   AMENDED NOTICE OF
                                                                   SETTLEMENT
                          -against-                            :
                                                               :
SUPER73, INC                                                   :
                                                               :
                                                               :
                                          Defendants.          :
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Now comes the Plaintiff Michelle Tenzer-Fuchs, by and through counsel, to provide an Amended

Notice of Settlement for the record to the Court:



    1. The present case has been settled in principle between Plaintiff and Defendant. The Notice of

         Settlement filed on June 3, 2022, misstated aspects of the settlement.

    2. The parties would like to memorialize an Amended Notice of Settlement. A Settlement

         Agreement (“Agreement”) is in the process of being drafted amongst the parties the terms of

         which are confidential. Once the Agreement is reviewed and fully executed the parties will

         submit a Stipulation of Dismissal with prejudice pursuant to Federal Rule of Civil Procedure

         41(a)(1)(A)(ii) and will therein request that the case be dismissed and closed.

    3. We respectfully request the Court provide that the parties may seek to reopen the matter

         for ninety (90) days to assure that the Agreement is fully executed.
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Dated:   Forest Hills, New York
         June 7, 2022
                                         Respectfully submitted,

                                         By: /s/Jonathan Shalom
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